


  Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated August 8, 2005 (People v Maldonado, 21 AD3d 430 [2005]), affirming two judgments of the County Court, Suffolk County, both rendered April 25, 2003.
 

  Ordered that the application is denied.
 

  The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745 [1983]; People v Stultz, 2 NY3d 277 [2004]).
 

  Eng, P.J., Mastro, Rivera and Leventhal, JJ., concur.
 
